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                                                                              United States District Court
                                                                                 Southern District of Texas

                                                                                    ENTERED
                                                                                 October 26, 2021
                         UNITED STATES DISTRICT COURT
                                                                                 Nathan Ochsner, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                             GALVESTON DIVISION

TRAVIS JAMES MULLIS,               §
                                   §
     Petitioner,                   §
VS.                                §             CIVIL ACTION NO. 3:13-cv-121
                                   §
BOBBY LUMPKIN, Director, TDCJ-CID, §
                                   §
     Respondent.                   §
                                   §

                                        ORDER

       On July 20, 2021, the Court entered a Memorandum Opinion and Order denying

Petitioner Travis James Mullis’ petition for a writ of habeas corpus. The Court also

declined to certify any issue for appellate consideration. Two post-judgment motions are

now pending. First, Mullis’ attorneys have filed a Motion to Alter or Amend Judgment

Pursuant to Fed.R.Civ.P. 59(e) and for Certificate of Appealability. Dkt. No. 178. Second,

Mullis has filed a pro se Motion for Reconsideration of Judgment Regarding Motion to

Dismiss Counsel. Dkt. No. 177. Mullis asks this Court to allow him to dismiss his

attorneys, with the probable intention of forgoing an appeal from the judgment. For the

reasons discussed below, the Court denies the two motions for reconsideration.

I.     Motion for Reconsideration Standard

       Federal law provides an important, but limited, opportunity to reopen the

proceedings after judgment. Federal Rule of Civil Procedure 59(e) authorizes a litigant to

“call into question the correctness of a judgment.” In re Rodriguez, 695 F.3d 360, 371 (5th

Cir. 2012). Court should use thus “extraordinary remedy” only “sparingly.” Templet v.

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HydroChem Inc., 367 F.3d 473, 479 (5th Cir. 2004). Relief under Rule 59(e) is appropriate

“(1) where there has been an intervening change in the controlling law; (2) where the

movant presents newly discovered evidence that was previously unavailable; or (3) to

correct a manifest error of law or fact.” Demahy v. Schwarz Pharma, Inc., 702 F.3d 177,

182 (5th Cir. 2012). A Rule 59(e) motion “cannot be used to raise arguments which could,

and should, have been made before the judgment issued.” Morris v. PLIVA, Inc., 713 F.3d

774, 776 (5th Cir. 2013); see also Templet, 367 F.3d at 478-79 (explaining that “Rule 59(e)

motions are ‘not the proper vehicle for rehashing evidence, legal theories, or arguments

that could have been offered or raised before the entry of judgment.’”).

II.    Motion for Reconsideration Filed by Appointed Counsel

       The Court entered a lengthy and detailed Memorandum Opinion and Order denying

habeas relief. Because Mullis filed a federal petition containing wholly unexhausted

claims, the Court found that the Anti-Terrorism and Effective Death Penalty Act precludes

federal habeas relief. See 28 U.S.C. §2254(b). To the extent Mullis relied on various

arguments to overcome any procedural bar of his claims, the Court found that his attorneys’

failure to exhaust claims when given the opportunity to do so disentitled him to equitable

relief. The Court also fully and fairly considered Mullis’ arguments to overcome any

anticipatory procedural bar if he attempted a return to state court.

       The motion for reconsideration filed by Mullis’s attorneys engages in a wide-

ranging and detailed challenge to the reasoning and analysis contained in the Court’s

Memorandum Opinion and Order but raises two primary arguments: (1) “The Court Erred

in Finding Mr. Mullis’s Procedural Default Could Not Be Excused Under Martinez v.

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Ryan” and (2) “The Court Erred in Denying Federal Habeas Review Despite the

Involuntary Nature of Mr. Mullis’s Purported Waiver in State Court.” Dkt. 178 at i.1 In

seeking reconsideration, Mullis merely reiterates arguments previously made, rehashes his

interpretation of the state court proceedings, and reurges various legal arguments. In

challenging this Court’s decisions, Mullis has not persuasively shown any serious errors at

all, much less manifest errors of law or fact. An appeal, not a motion for reconsideration,

is the proper avenue to address Mullis’ disagreement with this Court’s judgment. Relying

on the detailed discussion and analysis already contained in the Memorandum Opinion and

Order, the Court summarily denies the Rule 59(e) motion filed by Mullis’ attorneys.

III.    Motion for Reconsideration Filed by Mullis Himself

        Throughout this habeas action, Mullis has repeatedly moved to dismiss his attorneys

and proceed pro se. The Court has twice started the necessary steps to ensure Mullis’

competency to make that decision. In both circumstances, Mullis retracted his request to

proceed pro se after the Court and parties had expended significant time and resources.

Dkt. Nos. 83, 133.

        On June 1, 2021, Mullis again moved to dismiss his attorneys and proceed pro se.

Dkt. 172. The Court denied Mullis’ motion in the Memorandum Opinion and Order. Dkt.

175. In doing so, the Court observed that no legal authority requires that a court give

inmates an unequivocable right to dismiss counsel and represent themselves in habeas

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        The Court notes that Mullis does not challenge the decision that his wholly unexhausted petition is subject
to dismissal under both general habeas law and AEDPA’s more-specific provisions. Additionally, Mullis’ arguments
fail to draw a direct connection between his waiver of state habeas review and the anticipatory procedural bar of his
claims. In essence, Mullis suggests that wholesale waiver of one proceeding should forgive default of specific claims
in another, an argument for which Mullis does not provide any legal support.

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actions. With the decision about Mullis’ representation a matter of judicial discretion, the

Court stated:

       The parties have provided extensive briefing regarding the complex legal and
       factual matters which are now before the Court. Appointed counsel has
       represented Mullis for many years and has deep experience addressing the
       multifaceted issues raised by the matters at issue. Removing counsel at this
       late date would insert delay into an already protracted proceeding, thus
       diminishing the State’s valid interest in finality and in carrying out an
       otherwise-valid criminal sentence. While giving serious consideration to
       Mullis’ motion—particularly in the context of his previous complaints about
       counsel’s representation—the Court nonetheless finds that removing his
       attorneys would not be appropriate at this time. The Court, therefore, will
       deny Mullis’ motion to dismiss counsel and proceed pro se.

Dkt. 175 at 58.

       Mullis has filed a Pro Se Motion for Reconsideration of Judgement Regarding

Motion to Dismiss Counsel. Dkt. No. 177. Mullis has not presented any new evidence

indicating that the Court erred in its judgment. Instead, Mullis bases his argument on his

“bel[ief] that the court erred in not allowing dismissal of counsel upon the completion of

the district court proceedings.” Dkt. 177 at 3. Mullis cautions that, if this Court does not

allow him to dismiss his attorneys, he will continue to urge his motion in the Fifth Circuit.

Accordingly, Mullis asks that the Court begin the process of determining whether he is

competent.

       As the Court has previously observed, neither Mullis nor the parties have identified

any precedent requiring this Court to honor his request to proceed pro se. It appears that

the law allows this Court discretion in deciding whether pro se representation would be

appropriate. This Court decided in its Memorandum and Order that appointed counsel’s

extensive experience and history with this case militated against removing them from the

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case. Nothing now before the Court calls that into question.

       The Court hesitates to engage in a competency process that may compound the

unnecessary delay already occasioned by Mullis’ mercurial choices concerning his

representation. To be sure, nothing before the Court challenges Mullis’ current level of

competency. But Mullis has previously moved to represent himself and waive federal

review, only to retract that request after the parties had expended significant time and

resources examining his competency. Mullis’ recent pro se motion raises a concern that

his history of back-and-forth indecisiveness will continue to insert additional delay into

this case. Despite his assurances otherwise, this Court’s experience with Mullis suggests

the real possibility that pausing the march toward finality in this case to examine his

competency may only end in another aborted proceeding. Beginning an assessment of

Mullis’ competency anew may consume more time and resources than an appeal will.

       District court proceedings must end at some point. Mullis filed his petition in 2013.

Over the past eight years, Mullis’ decisions and his attorneys’ litigation strategy have

inserted unnecessary delay into a process which Congress has intended, by the governing

statutory title, to be effective. See 28 U.S.C. § 2254. Judicial economy, principles of

finality, and an overall interest in an orderly habeas process all weigh against beginning

another competency process that Mullis may again abandon. See Brown v. Wainwright,

665 F.2d 607, 611 (5th Cir. 1982) (finding that any right to proceed pro se “may be waived

through defendant’s subsequent conduct indicating he is vacillating on the issue”). For




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those reasons, the Court exercises its discretion to deny Mullis’ pro se motion.

IV.    Certificate of Appealability

       The motion for reconsideration filed by Mullis’ attorneys asks this Court to

reconsider whether to authorize appellate review of the claims contained in his federal

petition. Having reviewed Mullis’ arguments and the Memorandum Opinion and Order,

the Court again denies a Certificate of Appealability under the governing standards.

V.     Conclusion

       For the reasons discussed above, the Court denies the motion for reconsideration

that Mullis filed pro se, Dkt. No. 177, and the motion filed by his attorneys, Dkt. No. 178.

              SIGNED on October 26, 2021.



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                                                    GEORGE
                                                    GEORRGE CC. HANKS,
                                                                 HANKS JR.
                                                                         JR
                                               UNITED STATES DISTRICT JUDGE




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